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                                                                          !ASTERN DISTRICT ARKANSM

                IN THE UNITED STATES DISTRICT COURT SEP l l 2014
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION      ~A:ME3~~K
                                                y             ~K
UNITED STATES OF AMERICA                                   PLAINTIFF

v.                                 NO. 4:11CR00290-08 JLH

NANCY ASHCRAFT                                                                      DEFENDANT

                                            ORDER

       Nancy Ashcraft has filed a motion for early termination of probation. The United States must

respond to the motion, after conferring with the probation office, on or before September 25, 2014.

       IT IS SO ORDERED this 11th day of September, 2014.
